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                             UNITED STATES DISTRICT COURT

                                DISTRICT OF CONNECTICUT

UNITED STATES OF AMERICA                         :           Case No. 3:18-cr-095 (SRU)
                                                 :
               v.                                :
                                                 :
YEHUDI MANZANO                                   :           October 29, 2018


                        GOVERNMENT’S EMERGENCY MOTION
                        SEEKING A TWO-WEEK STAY OF TRIAL

       The Government respectfully submits this motion seeking a two-week stay of trial to allow

the Government to seek approval from the Office of the Solicitor General (“OSG”) of the U.S.

Department of Justice to file a petition for a writ of mandamus with the Second Circuit Court of

Appeals regarding certain rulings the Court issued this morning.           More specifically, the

Government is seeking permission from the OSG to file a petition for a writ of mandamus

regarding the Court’s decision to allow counsel for Mr. Manzano to elicit evidence during trial

regarding the sentencing consequences and mandatory minimum penalties that apply in this case.

In addition, to the extent the Court’s rulings allow Mr. Manzano to make argument and elicit

evidence that invites jury nullification, the Government seeks mandamus to have the Court

preclude such argument and evidence. Finally, the Government may seek mandamus to have the

Court instruct the jurors that they have a duty to convict if it finds the Government has proven Mr.

Manzano’s guilty beyond a reasonable doubt, regardless of the sentencing consequences. The

Government is in the process of obtaining the transcript from this morning’s proceedings in order

to seek the appropriate approval.

       Counsel for the Government has conferred with counsel for Mr. Manzano, who indicated

he takes no position on this motion. The Government understands that this will necessitate another
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jury selection, but in light of the significant issues involved, the Government believes a stay is

necessary.

                                         CONCLUSION

       For the forgoing reasons, the Government respectfully requests that the Court grant a two-

week stay of trial.

                                              Respectfully submitted,

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                                              UNITED STATES ATTORNEY

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on October 29, 2018, a copy of the foregoing document was filed
electronically and served by mail on anyone unable to accept electronic filing. Notice of this filing
will be sent by e-mail to all parties by operation of the Court’s electronic filing system or by mail
to anyone unable to accept electronic filing as indicated on the Notice of Electronic Filing. Parties
may access this filing through the Court’s CM/ECF System.



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                            /s/ Neeraj N. Patel
                           Neeraj N. Patel
                           Assistant United States Attorney




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